651 F.2d 455
    107 L.R.R.M. (BNA) 3350, 92 Lab.Cas.  P 13,000
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.TRUCK DRIVERS UNION LOCAL 164, INTERNATIONAL BROTHERHOOD OFTEAMSTERS, CHAUFFEURS, WAREHOUSEMEN AND HELPERS OFAMERICA, Respondent.
    No. 80-1344.
    United States Court of Appeals,Sixth Circuit.
    June 19, 1981.
    
      Elliott Moore, Deputy Associate Gen. Counsel, Robert Smith, N. L. R. B., Washington, D. C., Bernard Gottfried, Director, Region 7, N. L. R. B., Detroit, Mich., for petitioner.
      David Leo Uelmen, Goldberg, Previant &amp; Uelmen, Milwaukee, Wis., for respondent.
      Before WEICK and MERRITT, Circuit Judges, and CECIL, Senior Circuit Judge.
    
    ORDER
    
      1
      The NLRB petitions under 29 U.S.C. § 151 et seq. for enforcement of an order, reported at 243 NLRB 133, calling for the union-employer to cease and desist from unfair labor practices.
    
    
      2
      Truck Drivers Union Local 164, International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America, employed three office workers who desired to organize.  The Administrative Law Judge credited certain testimony and concluded that the union-employer took action to discourage organization, in violation of § 8(a)(1) of the National Labor Relations Act (NLRA).  Evelyn McCann, a 22 year veteran office worker, stepped down as office manager but continued to perform essentially the same duties.  Her salary was cut, and after other actions that the Administrative Law Judge concluded were discriminatory, both Evelyn McCann and her daughter, who also worked in the office, were discharged.  The Administrative Law Judge rejected the union-employer claims of legitimate discharge, and characterized the union-employer's defenses as "shifting, unfounded, and frivolous."  The record reveals that there was substantial evidence to support the findings of the National Labor Relations Board.
    
    
      3
      Accordingly, the judgment of the National Labor Relations Board is hereby affirmed.
    
    